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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

                                             :
    UNITED STATES OF AMERICA                 :
                                             :
                v.                           :
                                                 Case No. 15 CR 252 (S-2)(PKC)
                                             :
    JUAN ANGEL NAPOUT,                       :
                                             :
                Defendant.
                                             :




          REPLY MEMORANDUM CONCERNING RESTITUTION ON BEHALF
                        OF JUAN ÁNGEL NAPOUT




                                            HUGHES HUBBARD & REED LLP
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                     Mr. Napout respectfully submits this reply brief in connection with restitution.

   The government, in its September 26 letter, agrees that a large portion of the claims for lost

   revenues are unfounded, that some portion of the legal fee requests are not reimbursable, and that

   the entirety of the legal fee requests has been insufficiently supported by documentation. The

   remaining restitution amounts sought by the government are legally and factually unsupported.

   I.       FIFA, CONCACAF, AND THE TUSA EMPLOYEES ARE NOT VICTIMS OF
            THE ALLEGED OFFENSE CONDUCT

                     As a threshold matter, FIFA, CONCACAF, and the three former TUSA

   employees 1 have no basis to seek restitution because they are not victims of Mr. Napout’s

   alleged offense conduct.

                     The criminal schemes described in the Indictment charged Mr. Napout with

   receiving bribes in exchange for the sale of media and marketing rights held by CONMEBOL.

   The Indictment does not charge Mr. Napout with receiving bribes in exchange for the sale of any

   rights held by FIFA. In fact, FIFA does not seek restitution for any lost revenues because Mr.

   Napout had no role in the sale of any rights held by FIFA. The government nonetheless asserts

   that Mr. Napout “routinely failed to deliver. . . the full amount of honest services owed” to FIFA,

   and that by “falsely portraying” himself as an “honest steward[] of the sport,” he “violated a

   central tenet of [the] organizations’ by-laws.” (Gov. Ltr. at 8). Violating an organization’s by-

   laws, however, is not itself criminal. Rather, as the Supreme Court held in Skilling v. United

   States, 561 U.S. 358, 368 (2010), honest-services fraud under Section 1346 requires bribes and

   kickbacks in breach of a fiduciary duty. Mr. Napout did not receive or agree to receive any



   1.   Prior to receiving the government’s September 26, 2018 submission, Mr. Napout was not aware that former
        TUSA employees sought restitution as part of Mr. Napout’s sentencing. See Gov. Ltr. at 15. Upon receiving
        the government’s submission, we asked for and received a copy of the TUSA employees’ submission from the
        government, which we understand was filed under seal. Mr. Napout opposes restitution for TUSA employees
        for the reasons set forth by the government (see Gov. Ltr. at 15-16) and Traffic (see Traffic Ltr. at 10-11).
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   bribes as a FIFA official in exchange for the sale of any media or marketing rights owned by

   FIFA, and thus he did not commit a crime for which FIFA was the victim of honest-services

   fraud. See United States v. Archer, 671 F.3d 149, 169–70 (2d Cir. 2011) (“Critically, the district

   court's statutory authority to award restitution under the MVRA is limited to awards to victims of

   the offense of conviction.”) (citations and internal quotation marks omitted); United States v.

   Marino, 654 F.3d 310, 319 (2d Cir. 2011) (“The committee believes that losses in which the

   amount of the victim's losses are speculative, or in which the victim's loss is not clearly causally

   linked to the offense, should not be subject to mandatory restitution.”) (citing S.Rep. No. 104–

   179, at 19 (1995)). FIFA is not entitled to restitution under the MVRA.

                  Nor is CONCACAF a victim of Mr. Napout’s alleged offense conduct. Mr.

   Napout was never employed by CONCACAF, and did not owe CONCACAF any fiduciary

   duties. While the government relies on United States v. Smith, 513 F. App’x 43, 45 (2d Cir.

   2013), that case merely reiterates the unremarkable principle that a defendant can be ordered to

   pay restitution caused by the defendant or by the reasonably foreseeable acts of his co-

   conspirators. Here, Mr. Napout did not cause CONCACAF’s loss, and there was no evidence at

   trial that bribes paid by others to CONCACAF’s Jeffery Webb were reasonably foreseeable to

   him. Indeed, the government’s cooperating witness, Luis Bedoya, who occupied a position

   similar to Mr. Napout as the President of his country’s federation, testified that he was not aware

   of the bribes to CONCACAF officials for the Copa Centenario. (Tr. 1604). To the extent

   CONCACAF sustained losses as a result of any bribery, it can still seek restitution from those

   who caused its losses. It cannot seek restitution from Mr. Napout.




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   II.       CONMEBOL AND CONCACAF HAVE NOT ESTABLISHED ANY LOST
             REVENUES

                     Apart from the above threshold deficiency in the restitution claim, the government

   agrees that the “claimed restitution amounts overstate the amounts of actual losses demonstrated”

   by CONMEBOL and CONCACAF because such losses must be offset by the return of the media

   and marketing rights at issue. The government also agrees, for this reason, that the record does

   not establish that CONCACAF suffered any actual losses. 2 (Gov. Ltr. at 4). While the

   government purports to apply an offset, it nonetheless asserts that CONMEBOL should still be

   awarded $54,525,000 in restitution, consisting of bribes paid and promised for tournaments

   played between 2011 and 2015. This assertion fails for the following reasons.

                     First, neither the government nor CONMEBOL has provided any analysis to

   demonstrate lost revenue associated with those tournaments. Professor Szymanski testified only

   to the general principle that a person paying a bribe might be willing to pay that same amount for

   the underlying contract if no bribe is paid. Professor Szymanski concededly undertook no effort

   to assess whether that was in fact the case here, and if so, to what extent it held true for purposes

   of a monetary calculation. (See Trial Tr. at 196-206.) He provided no basis upon which to

   assess the relevant market and likely competition, if any, within that market, nor has anyone else

   done so. Simply put, using paid and promised bribes as a proxy for lost revenue here is entirely

   speculative, and a victim cannot recover “losses that are hypothetical or speculative.” United

   States v. Maynard, 743 F.3d 374, 378 (2d Cir. 2014); accord United States v. Zangari, 677 F.3d

   86, 91 (2d Cir. 2012) (“a restitution order must be tied to the victim's actual, provable, loss”).




   2.    Both the government and Mr. Napout also identified various problems with the assumptions underlying
         CONCACAF’s lost revenue calculation. Mr. Napout hereby incorporates any such faulty assumptions
         identified by the government and not already identified in Mr. Napout’s opening brief.


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                     Second, contrary to the government’s suggestion, courts do not routinely order

   restitution in the amount of bribes paid or promised in analogous cases. (Gov. Ltr. at 5 n.7.) As

   the Second Circuit has made clear, a “sentencing court ordering restitution under the MVRA

   may not substitute a defendant's ill-gotten gains for the victim's actual loss.” Zangari, 677 F.3d

   at 93. In United States v. Finazzo, also an honest services fraud case, the Second Circuit rejected

   the district court’s attempt to use the amount of bribes received as a reasonable estimate of a

   victim’s loss. 850 F.3d 94, 118 (2d Cir. 2017). In so doing, the Second Circuit stated that such

   loss “is not a necessary consequence of all the kickbacks” received by the individual who

   accepted the bribes. Id. Rather, the court held that “[g]iven that we require a ‘direct correlation’

   between a defendant's gain and a victim's loss in order for restitution to be measured according to

   that gain, it is not a sufficiently sound methodology for the district court to merely assume that

   the kickbacks were solely justified by” the difference of prices to be paid in the contract. Id. As

   in Finazzo, because the Government has provided no way to “determine what portion of [the co-

   conspirators’] gain is directly correlated with [the claimant’s] loss[es],” restitution cannot be

   ordered. 3 Id.

                     Third, even accepting the government’s theory that paid and promised bribe

   amounts can serve as a proxy for loss, the total amount of bribes the government alleged to have

   been paid or promised for all of the Copa Libertadores and Copa America tournament editions




   3.   The cases cited by the government (Gov. Ltr. at 5 n.7) do not support an order of restitution in the amount of the
        bribes paid, let alone promised. In United States v. Madison, 657 F. App’x 67 (2d Cir. 2016), there was no
        dispute whether the amount of bribes paid were an adequate grounds to find actual loss. Rather, the only issue
        considered was whether the government established a quid pro quo to support the basis for honest services
        fraud. In both United States v. Gaytan, 342 F.3d 1010, 1012 n.3 (9th Cir. 2003), and United States v. Gamma
        Tech Industries, Inc., 265 F.3d 917, 929 (9th Cir. 2001), the Ninth Circuit found restitution for the bribes
        received appropriate because, under California state law, everything an employee acquires pursuant to his
        employment belongs to the employer. And Gamma Tech, as well as United States v. Vaghela, 169 F.3d 729
        (11th Cir. 1999), are distinguishable because the amount of the bribes in each case was directly connected to the
        amount that the employer was overcharged by the vendor paying the bribes. Here, there is no overcharge issue.


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   from 2011 through 2023 was approximately $150 million. The government acknowledges that

   any calculation of loss must incorporate the value of assets returned to the victims (Gov. Ltr. at

   4), and further that the rights to the 2016 through 2022 editions of the Copa Libertadores and the

   2019 and 2023 editions of the Copa America were returned to CONMEBOL and later resold for

   a combined $1.835 billion dollars. Yet, the Government fails to credit this huge gain against the

   entirety of the much smaller aggregate amount of paid and promised bribes, and at the same time

   offers no analysis for carving out roughly $55 million in losses as against nearly $2 billion. 4

   Because the amount gained by CONMEBOL through the renegotiated deals more than subsumes

   the amount of alleged loss for the entirety of the scheme, CONMEBOL has been made whole,

   and any additional amount awarded in restitution would be an improper windfall.

                     Fifth, by seeking the amount of bribes paid or promised for each separate

   tournament played from 2011 to 2015, the government also ignores the rapidly increasing value

   of the tournaments conducted in the latter years. 5 According to the PSR, the amounts paid or

   promised for each edition of each tournament is either relatively equal, or actually more heavily

   weighted to the earlier years. For example, the total amount of bribes to be paid for the five

   editions of the Copa Libertadores from 2011 through 2015 was $35.1 million (or $7.2 million per

   year), whereas the total amount for the seven additions from 2016 through 2022 was $38.5



   4.   The government argues that “Napout offers little support for the conclusion other than the figures themselves.”
        (Gov. Ltr. at 4.) But in the same letter (see Gov. Ltr. at 8 n.10), the government acknowledges, as it must, that
        it, not Mr. Napout, shoulders the burden of proving the amount of loss. See 18 U.S.C. 3664(e) (“The burden of
        demonstrating the amount of the loss sustained by a victim as a result of the offense shall be on the attorney for
        the Government.”).

   5.   Professor Szymanski testified that the value of broadcast rights for these tournaments is rising steadily. (Trial
        Tr. at 191.) In addition, a comparison of the value from the resale of the rights to editions of the Copa
        Libertadores demonstrates the later sales of these rights yield larger revenue for CONMEBOL. The 2015 sale
        of the rights to the 2016 through 2018 editions provided CONMEBOL with roughly $145 million per
        tournament, whereas the 2018 sale of the 2019 through 2022 editions provide CONMEBOL with a guarantee of
        $350 million per edition. (Compare Media Rights Agreement, dated Nov. 13, 2015 (Exhibit C to ECF No.
        1031) with Guarantee Agreement, dated Feb. 6, 2018 (Exhibit F to ECF No. 1031).)


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 million (or $5.5 million per year). See PSR at ¶ 53. Taking the government’s theory of loss

 based on bribes, this would mean that the earlier tournaments were significantly more valuable

 than the later tournaments, when in reality, the exact opposite is true. This illustration

 demonstrates that the government’s underlying premise that paid and promised bribe amounts

 are reasonable estimates of lost value is faulty, and further that, to the extent the Court considers

 the bribe amounts as some sort of proxy, the Court should not include the entire amount

 proposed by the government as that amount disproportionately weights the value of the

 tournament rights towards the earlier years.

 III.       THE ENTITIES HAVE NOT ESTABLISHED ENTITLEMENT TO LEGAL FEES

                     None of the entities has established entitlement to legal fees under the MVRA.

 First, as set forth above, neither FIFA nor CONCACAF is a victim of Mr. Napout’s offense

 conduct and should not be awarded restitution for any category of claimed loss. Second, to date,

 none of the entities has submitted a single underlying document to support the massive legal fee

 requests, despite two prior Court deadlines for submissions by victims. See 7/11/2018

 Scheduling Order; 8/21/2018 Scheduling Order (“by August 31, 2018 — final submissions by

 any victim that wishes to provide additional information to the Court on the issue of restitution as

 to Defendants Marin and Napout, which shall indicate the total amount of loss the victim claims

 to have sustained as a result of the offenses of conviction and provide all legal and factual

 support upon which the claim is based, including any documentary support …”). 6




 6.     Although the Court earlier today granted the belated requests by CONMEBOL and CONCACAF (each
        submitted yesterday) to provide documentation for the legal fee requests, Mr. Napout objects to the belated
        submissions as the Court’s prior scheduling orders clearly required such documentation to be submitted by
        August 31. Neither entity offered any explanation for failing to adhere to the Court’s prior deadline.


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          A.       The MVRA Does Not Permit The Claims For Investigative Fees

                   Even if fee records had been provided, the MVRA does not permit restitution for

 the voluntary internal investigations performed here. The government’s continued reliance on

 Amato v. United States, 540 F.3d 153 (2d Cir. 2008), for the proposition that internal

 investigation costs undertaken at the government’s “invitation or request” is misplaced. (See

 Gov. Ltr. at 11.) To begin, Lagos directly rejected the holding of Amato. See Lagos v. United

 States, 138 S. Ct. 1684, 1688 (2018). This alone renders Amato void. See OneSimpleLoan v.

 U.S. Sec'y of Educ., 496 F.3d 197, 208 (2d Cir. 2007) (courts are “bound to follow Supreme

 Court precedent as it currently exists”). 7 To the extent Lagos did not also explicitly overturn

 Amato in regards to investigations conducted at the government’s behest, the reasoning of Lagos

 still displaces this aspect of Amato.

                   When a Supreme Court decision “casts doubt” on Second Circuit precedent, that

 precedent no longer controls. In re Arab Bank, PLC Alien Tort Statute Litig., 808 F.3d 144, 154

 (2d Cir. 2015), as amended (Dec. 17, 2015), aff'd sub nom. Jesner v. Arab Bank, PLC, 138 S. Ct.

 1386 (2018). “The intervening [Supreme Court] decision need not address the precise issue”

 decided by the Circuit, but “there must be a conflict, incompatibility, or inconsistency between

 this Circuit's precedent and the intervening Supreme Court decision.” Id. at 155 (internal

 quotations, quotation marks and brackets removed); see also Pappas v. City of Lebanon, 331 F.

 Supp. 2d 311, 319 (M.D. Pa. 2004) (when circuit precedent is “obviously undermined by more




 7.   The Government erroneously argues that Lagos adopted the “rule” in United States v. Papagno, 639 F.3d 1093
      (D.C. Cir. 2011), that “aside from the costs undertaken at the government’s invitation or request, a victim
      cannot be compensated for any internal investigation expenses.” (Gov. Ltr. at 11 n.13.) However, the Papagno
      court did not address the issue of internal investigations conducted at the government’s behest. See 639 F.3d at
      1100.


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 recent opinions of the Supreme Court, the district court has an obligation to recognize the former

 as overruled”).

                   The rationale of Lagos directly undercuts Amato’s reasoning. Amato held that the

 plain language of § 3663A(b)(4) permitted recovery for the costs of investigations conducted

 before a government investigation began, 540 F.3d at 159; Lagos held the opposite, 138 S. Ct. at

 1688. Amato found “no relevant common attribute linking lost income, child care expenses, and

 transportation expenses in 18 U.S.C. § 3663A(b)(4),” 540 F.3d at 160. In Lagos, however, the

 Supreme Court found the same words are “precisely the kind of expenses that a victim would be

 likely to incur when he or she … misses work and travels to talk to government investigators, to

 participate in a government criminal investigation, or to testify before a grand jury or attend a

 criminal trial.” Lagos, 138 S. Ct. at 1688. Indeed, as argued in Mr. Napout’s Sentencing

 Memorandum (ECF No. 1026 at 9–11), every aspect of the Supreme Court’s reasoning in Lagos

 applies equally to internal investigations conducted at the government’s behest. Thus, the Court

 should not base any restitution order on Amato unless and until the Second Circuit reinterprets

 the MVRA in a manner consistent with the Supreme Court’s holdings in Lagos.

                   Finally, even accepting the government’s view that the Court can order restitution

 for investigation fees that are necessary and incurred at the government’s behest and during the

 pendency of the government’s investigation or prosecution, the government fails to identify any

 fees sought by FIFA, CONMEBOL, or CONCACAF that satisfy those criteria, or even to

 identify any specific request or invitation made by the government to any of the entities to

 provide the framework for this aspect of the proceeding. The record remains devoid of any

 factual basis to impose restitution for legal fees.




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                  The government also argues that the fees sought by CONMEBOL for work done

 by McDermott Will & Emery ($4,391,104.89) and Esteban Burt ($255,700) fall outside the

 Lagos framework, and are a direct result of Mr. Napout placing his interests above those of the

 organization based on attempts to assert a joint defense or common interest privilege among the

 lawyers. (See Gov. Ltr. at 11). It is not clear how the government purports to know what

 specific legal services were provided by the two identified firms, amounting to over $4.5 million,

 as neither the government nor CONMEBOL has provided any underlying support for the request.

 It is also hard to imagine that “much of” the $4.4 million of work performed by a respected U.S.

 law firm on behalf of its institutional client was actually done to further Mr. Napout’s “personal

 interests in protecting himself from prosecution.” (Gov. Ltr. at 11). The government should not

 be permitted to support a restitution claim, much less one for millions of dollars, based on wild

 conspiracy theories. We expect that, should the government choose to call the attorneys who

 performed the work to testify, the attorneys would not attribute such ill purposes to their work. 8

 Indeed, we understand that a good deal of the work done by McDermott, Will & Emery, at Mr.

 Napout’s urging and with his full cooperation, was related to renegotiating the media and

 marketing rights to various tournaments which generated enormous revenue for CONMEBOL,

 and analysis and preparation for potential litigation against various contractual counter-parties,

 which is the type of civil litigation work for which the MVRA does not provide restitution. See

 Lagos, 138 S. Ct. at 1688-70.




 8.   The government points merely to the assertion of a joint defense privilege among Mr. Napout and
      CONMEBOL, which the government characterizes as a nefarious act. Such joint defense and common interest
      agreements, however, are commonly formed among subjects of government investigations.


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        B.      FIFA Has Not Established The Necessity Of Its Trial Attendance Expenses

                The government contends that the Burck Affidavit sufficiently documents the

 expenses incurred by FIFA to prepare a witness and documents for trial, and for an attorney to

 attend the entire trial, arguing that FIFA is entitled to recover “all necessary costs” for such

 efforts. (Gov. Ltr. at 13). The Burck Affidavit, however, merely states an aggregate amount of

 fees sought for three different activities (providing copies of documents, preparing a witness, and

 attending the entire trial), without any breakdown for each of those categories, much less any

 documentary support. Neither the government nor FIFA cites a case in which a court found it

 sufficient that a lawyer merely states an aggregate total amount of fees that the lawyer seeks to

 recover, without more. Indeed, as the government acknowledges, the fees must be for

 “necessary costs,” and without providing the underlying documents to support the fee request, it

 is impossible to determine whether those amounts were necessary.

                The government also asserts that FIFA is entitled to recover the fees for having an

 attorney attend the entire trial, because victims have the right to attend court proceedings under

 18 U.S.C. § 3771(a)(3). (Gov. Ltr. at 13). Although Section 3771(a)(3) undoubtedly gives

 victims the right “not to be excluded” from court proceedings, nowhere does it permit a victim

 the right to have an attorney attend in the victim’s stead and then to seek restitution for the

 attorney’s fees for sitting through the entire trial. Nor does the MVRA provide restitution for

 such fees, as they simply are not necessary to the government’s investigation or prosecution of

 the case (and the government hasn’t contended otherwise). FIFA was certainly free to send a

 representative to attend the trial. It cannot seek restitution for having its outside counsel do so.




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 IV.    FIFA AND CONMEBOL FAIL TO IDENTIFY SALARY, BENEFITS OR OTHER
        EXPENSES SUBJECT TO RESTITUTION

                The question here is not whether the MVRA permits restitution for some portion

 of a person’s salary based on an honest services fraud conviction, but rather whether FIFA or

 CONMEBOL has identified any salary, benefits or expenses that should be subject to restitution.

 Neither entity has done so.

        A.      FIFA

                FIFA does not seek any salary or benefits, but rather expenses for trips taken

 between June 2009 and December 2015. The government argues that FIFA is entitled to an

 unidentified “substantial” portion of these expenses, because Mr. Napout “violated a central tenet

 of [the] organizations’ by-laws.” (Gov. Ltr. at 8). As argued above, however, it is not a crime

 merely to violate an organization’s by-laws. The government never alleged or introduced

 evidence, much less proved, that Mr. Napout accepted bribes wearing his FIFA hat in exchange

 for agreeing to or approving the sale of any media or marketing rights owned by FIFA.

                Regardless, there is no factual basis to impose restitution (partial or full) for the

 trip expenses listed in FIFA’s letter, absent some evidence of misconduct on those trips. The

 government’s attempt to distinguish United States v. Donaghy, 570 F. Supp.2d 411 (E.D.N.Y.

 2008), misses the mark. (See Gov. Ltr. at 9 n.11). The government asserts that, unlike in

 Donaghy, Mr. Napout’s offenses are not limited to specific dates or events, and that he was

 expected to provide complete and honest services each time he appeared at an event. But Mr.

 Napout was not, as the government suggests, convicted broadly for failing to provide honest

 services to his employers. Rather, the conviction was based, as it must be under Skilling, on the

 alleged receipt of specific bribes, in exchange for the sale of specific media and marketing rights.

 Thus, just as in Donaghy, where the government was able to identify the games at which the



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 referee engaged in misconduct, here the government must provide some basis for the Court to

 find that Mr. Napout engaged in the charged conduct on the trips listed by FIFA. It is not

 enough for the government merely to assert that Mr. Napout attended a World Cup match in

 2014 with disloyalty in his heart, or that he failed to provide honest services during a meeting

 with the President of Bolivia in 2010. Absent evidence of the charged misconduct at these and

 the other events listed, there is simply no basis to impose restitution for such expenses. 9

          B.       CONMEBOL

                   Neither CONMEBOL nor the government has identified the purpose of any of the

 $105,000 worth of “legitimate wire transfers” made to Mr. Napout. The government contends

 that CONMEBOL’s “proffer is sufficient to document” its claim (Gov. Ltr. at 9 n.12), but

 CONMEBOL’s proffer consists of nothing more than stating an aggregate amount of money

 provided to Mr. Napout on unidentified dates and for unidentified reasons. CONMEBOL has

 not asserted that the $105,000 was salary, nor could it, as CONMEBOL has acknowledged that

 Mr. Napout did not take over $1.3 million in salary owed to him over the years. To the extent

 the $105,000 consists of one or more “reimbursements,” the Court has no basis to determine

 whether all, part or none of that amount is subject to restitution without knowing what was

 reimbursed. For example, and hypothetically, if Mr. Napout paid for a CONMEBOL expense

 out of his own pocket and was later reimbursed, there would be no basis to seek restitution for

 that reimbursement. Without any underlying detail or documentation, restitution must be denied.




 9.   If FIFA or CONMEBOL were seeking restitution for salary (which they are not because Mr. Napout took no
      salary), logic might dictate that some portion of that salary would be subject to restitution based on an honest
      services conviction. But that logic does not extend to reimbursement for travel expenses where the government
      fails to establish that any of the charged misconduct occurred on a given trip.


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 V.     RESTITUTION SHOULD BE APPORTIONED

                The government argues that the Court cannot order restitution against those not

 before the Court. (Gov. Ltr. at 5 n.8). Yet there are many defendants who have been convicted

 and stand before the Court in connection with the bribery schemes, and apportionment makes

 eminent sense given the circumstances of this case. Indeed, it is unfair to those individual

 defendants to be sentenced by the Court that the government chose not to require Torneos, an

 undeniably guilty member of the charged conspiracy, to plead guilty to any offenses, thereby

 preventing the Court from imposing a substantial restitution order on the co-conspirator with

 perhaps the deepest pockets and who gained the most from the illegal conduct. Torneos paid a

 very substantial amount in forfeiture, and agreed with the government that such funds can be

 used for restitution purposes, but the government notes that it is entirely within the government’s

 discretion whether to do so. Ironically, the government argues that the Court should not

 apportion restitution because it should not “require victims to await compensation.” (Gov. Ltr. at

 5 n.8). Yet it is the government, based on the Torneos deferred prosecution agreement, which is

 uniquely situated to avoid any such waiting game. The Court should, at the very least, require

 the government to declare its intentions with any forfeited money by an imminent date certain so

 as not to unfairly impose the entire onus of any restitution award on the individual defendants

 who are first in line for sentencing.

                Mr. Napout further requests that the Court establish a mechanism by which

 monies received by the “victims” from any sources are reported to the government, the Court,

 and any defendant subject to a restitution order. Upon the receipt of any such money, whether

 from restitution or forfeiture payments by other defendants, insurance coverage, the prosecution

 or settlement of civil lawsuits, or other sources, the Court should reduce the restitution amount, if

 any, owed by Mr. Napout. Because it is often difficult to track such developments in a complex


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 case with multiple parties, Mr. Napout requests that the Court order a formal reporting

 mechanism.



                                         CONCLUSION

                For the reasons set forth herein and in Mr. Napout’s opening brief, Mr. Napout

 respectfully requests that the Court deny the restitution claims submitted by FIFA,

 CONMEBOL, and CONCACAF.


 Respectfully submitted,

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